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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO
                                       Judge Robert E. Blackburn

  Civil Action No. 18-cv-02674-REB-MEH

  FRANK LEON,

           Plaintiff,

  v.

  CAPITAL ONE BANK (USA), N.A.,

           Defendant.


                                             ORDER OF DISMISSAL

  Blackburn, J.

           This matter is before me on Stipulation of Dismissal [#17],1 filed March 12, 2019.

  After reviewing the stipulation and the record, I conclude the stipulation should be approved.

           THEREFORE, IT IS ORDERED as follows:

           1. That the Stipulation of Dismissal [#17], filed March 12, 2019, is approved;

           2. That plaintiff’s claims against defendant are dismissed with prejudice, with each

  party to bear their own attorney fees and costs; and

           3. That this case is closed.

           Dated March 13, 2019, at Denver, Colorado.

                                                                  BY THE COURT:




           1
              “[#17]” is an example of the convention I use to identify the docket number assigned to a specific paper by
  the court’s case management and electronic case filing system (CM/ECF). I use this convention throughout this order.
